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                       UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF VIRGINIA
                           Alexandria Division

 John Tieso

      Plaintiff
 v.                                       Case No. 1:22-CV-0031 PTG-JFA

 The Catholic University of
 America, a non stock corporation
 registered in the state of Virginia

      Defendant

        PLAINTIFF’S MEMORANDUM IN OPPOSITION TO DEFENDANT’S
                          MOTION TO DISMISS
                        AND SUMMARY JUDGEMENT


      The Plaintiff, by counsel, submits this Memorandum in

 Support of its objection to the Defendant’s Motion to Dismiss and

 Summary Judgment on the following grounds.

                        Violation of Free Speech

 1.     Article III Section 2 of the Constitution,

      The judicial Power shall extend to all Cases, in Law and

 Equity, arising under this Constitution, the Laws of the United

 States, and Treaties made, or which shall be made, under their

 Authority;

        28 U.S.C.A. 1331 states, “The district courts shall have

 original jurisdiction of all civil action arising under the

 constitution, laws, or treaties of the United States.”

        The 1928 Public Law No. 235 is a Federal law.         The Act of

 April 3, 1928 is specific to Catholic University, and the


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 Complaint is regarding Constitutional issues of free speech and

 due process.

      No cases cited by Defendant address a Federal law, in this

 case Act of April 3, 1928, directed for the specific benefit of a

 Defendant like Catholic University.        And no cases cited by the

 Defendant address the federal regulation 34 CFR part 75, 75.500,

 cited specifically to protect freedom of speech at both private

 and public universities.      All of the cases cited by Defendant are

 before 75.500.

 2.   At Para. 34 of the Complaint the Plaintiff pled,

 “34.   As Catholic University was formed by the United States
 Congress and is receiving public funds, it is a public university
 and is subject to CFR part 75.500 (b)(1).”


      At paragraph 45(d) Plaintiff pled the University violated

 “Mr. Tieso’s constitutional right to freedom of speech at a

 public university.”

      At paragraph 29 and 30 the Plaintiff outlined some of the

 governmental funding that Catholic University receives.

 3.   At Para. 32. Of the Complaint Plaintiff pled, “An Act of

 Congress in the 70th Congress 1928 approved and confirmed the

 formation of Catholic University stating its rights, duties, and

 responsibilities. See attached Exhibit P made a part of this

 pleading.”    Nothing prevents “Congress from altering, amending or

 repealing” the Federal law regarding Catholic University.

 4.   Plaintiff’ Exhibit P outlines the powers and authorities the

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 Law passed by Congress gave to the Board of Trustee of Catholic

 University and power to alter, amend, and repeal the same.

      Plaintiff’s position is the formation by Congress, the 1928

 Act passed by Congress and signed by the President, gave Congress

 the powers to administer the University in detail under Section 4

 of the Act, and powers Congress in Section 5 to alter, amend, and

 repeal the same.     Defendant was formed and is regulated by a

 Federal law.    The 1928 Act is still the law of the land.

 Catholic University asked for this legislation, and has

 benefitted from the Federal law for almost 100 years.

 5.   At page 40 of the Faculty Handbook Part I it specifically

 mentions the Act of Congress in the formation, the powers granted

 to the Trustee and the retention of the power to alter, amend and

 repeal.   The Defendant does not address the 1928 Act at all in

 its Motions.

 6.   As a public university, Catholic University is subject to

 the 1st Amendment, this matter is covered by Section 2 Article

 III of the constitution, and Mr. Tieso has standing in the

 Federal court as this is a Federal issue.

 7.   In Meriwether v. Hartop, 992 F.3d 492 (6th Cir. 2021) “...

 Under controlling Supreme Court and Sixth Circuit precedent, the

 First Amendment protects the academic speech of university

 professors.”    The Court continues, “The First Amendment protects,

 “the right to speak freely and right to refrain from speaking at


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 all.”   Wooley v. Maynard, 430 U.S. 705,714 (1977).

 8.      In contrast to the Meriwether case where Meriwether’s

 action was on campus, Mr. Tieso’s speech was unrelated to his

 work and unconnected by him to Catholic University.

 9.    Mr. J. Steven Brown makes an unsubstantiated claim in his

 affidavit, and Defendant has argued Catholic is not a public

 university. There is no support for Mr. Brown being an expert in

 the determination of whether a university is private or public,

 and Plaintiff objects to this affidavit.

 10.   In addition, Mr. Tieso’s position is that he has standing in

 the enforcement as a private action his right to protect his

 Constitution right of free speech under Department of Education

 regulation 75.500.

       75.500 Constitutional rights, freedom of inquiry, and

 Federal statutes and regulations on nondiscrimination in (b)(1),

 states,

             The Department will determine that a public
       institution has not complied with the First Amendment only
       if there is a final, non-default judgment by a State or
       Federal court that the public institution or an employee of
       the public institution, acting in his or her official
       capacity, violated the First Amendment.
       The regulation is regarding rights under the Constitution.

 11.      In the alternative, even if it is decided by this Court

 that Catholic University is a private institution, at (C) 1, the

 same rule applies,

       The Department will determine that a private institution has
       not complied with these stated institutional policies only

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       if there is a final, non-default judgment by a State or
       Federal court to the effect that the private institution or
       an employee of the private institution, acting on behalf of
       the private institution, violated its stated institutional
       policy regarding freedom of speech or academic freedom.




 12.   If the Court finds Catholic University is a “private

 university”, that is no protection.        In Gonzaga Univ. v. Doe, 536

 273 (2002), where the Court in deciding whether Doe’s release of

 education records was a basis of a private right action against a

 “private university”, the Court ruled that funding statutes did

 not support a private right of action against Gonzaga.           The 1928

 Act and 34 CFR part 75 are not funding statutes or regulations.

 In the present case, Mr. Tieso’s case is not based on a funding

 statute, but on the Federal Constitution, the 1928 Act, and his

 rights under the Federal regulation.

       Catholic University’s deprivation of Mr. Tieso’s

 Constitutional right to free speech is what was plead.

 13.   Two key points to consider. First, the Department of

 Education has no internal administrative enforcement provision in

 its regulation.    Second, the regulation is regarding constitution

 rights and thus the Plaintiff’s position is that Congressional

 expressed permission of a private right of action is not

 required.   The language of the regulation states that only if

 there is a final non-default judgement is there to be any action

 taken against Catholic University.

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       The Supreme Court in Wright v. Roanoke Redevelopment

 Author., 479 U.S. 418 (1987) states,

             Nothing in the Housing Act or the Brooke Amendment
       evidences that Congress intended to preclude petitioners’
       1983 claim against respondent. Not only are the Brooke
       Amendment and its legislative history devoid of any express
       indiction that exclusive enforcement authority was vested in
       HUD, but also both congressional and agency actions have
       indicted that enforcement authority in not centralized, and
       that private action were anticipated. (Emphasis added)


 14.   In the present case the Department of Education is going to

 take no action until and except there is a final judgement in

 either federal or state court.

 15.   The Supreme Court in Wilder v. Virginia Hospital Asso’n 496

 U.S. 498 (1990), states, “Section 1983 - which provides a cause

 of action for the ‘deprivation of any rights... secured by

 [federal] laws’ - id inapplicable if (1) the statute in question

 does not create enforceable ‘rights’ within § 1983's meaning, or

 (2) Congress has foreclosed such enforcement of the statute in

 the enactment itself.”       Freedom of speach is an enforceable

 right.   There is no prohibition of Mr. Tieso bringing this

 lawsuit in the regulation or under the 1928 Act.

 16.    Mr. Tieso is the intended beneficiary of the regulation,

 the regulation is regarding constitution rights, and the

 regulation imposes a binding obligation on Catholic University.

 Congress did not nor did the Department of Education expressly

 forbid a remedy to create an enforcement scheme that is


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 incompatible with individual enforcement. See Blessing V.

 Freestone, 520 U.S.     329 (1997).

 17.   Defendant in support of their position cite Hudgens v.

 V.L.R.B. 434 US 5076 513 (1976), which is a case regarding

 shopping malls.    Vaynberg v. Seton Hall Univ, 2010 U.S. Dist.

 Lexis 112634, is distinguished from the present case as the court

 ruled that Vaynberg presented no evidence.

 18.   The Second Circuit in Weise v. Syracuse Univ. 522 F2d 397,

 407 (2d Cir. 1975), PRE 34 CFR 75 and not addressing the Act of

 April 3, 1928, outlines what is the criteria for a “private

 university”.     The Court in Weise in reviewing the First

 Amendment in Grafton v. Brooklyn Law School, 478 F2d 1137, on

 whether a student received a passing grade, and Wahba v. New York

 University 492 F2d 96 (2d Cir. 1974) requiring advance approval

 before publication, states the Court was not equipped to regrade

 exams nor the evaluate the conduct of scientific research;            “As

 the conduct complained of becomes more offensive, and as the

 nature of the dispute becomes more amenable to resolution by a

 court, the more appropriate it is to subject the issue to

 judicial scrutiny.”

 19.   It is Mr. Tieso’s position that firing him for speech

 unrelated to his work and not identified with Catholic University

 is subject to judicial scrutiny.

 20.   Catholic University in neither its Motion nor in the


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 affidavits by Brown and Abela deny nor give any evidence to deny

 the Mr. Tieso’s allegation of significant and substantial degree

 of financial dependence on the government nor of the other 4

 factors listed by the 2nd Circuit in Weise.        The University has

 include in their Handbook at page 40 and 41 the “Act of Congress”

 which   “connotes government approval of the activity”.          Catholic

 has benefitted from the 1928 Act, a Federal law which has

 continuing oversight over the University.         The issue involve is

 not a religious question but a secular matter.          Mr. Tieso was not

 a religious teacher, but a professor teaching business.           Catholic

 University is serving a public function for the community in

 education and hosting community events open to the public.

 21.   The President of the University, John Garvey, has stated

 that the University has adopted the Constitutional right of free

 speech, and restated in the Faculty Handbook and in the

 University’s Demonstrations Policy, and in being a member of the

 MSCHE which states under Standard II- Ethics and Integrity

 paragraph one, “a commitment to academic freedom, intellectual

 freedom, freedom of expression, and respect for intellectual

 property rights;” See Complaint paragraphs 35, 36, 37 and 38, 39

 and 40 and the accompanying exhibits.        In doing so they serve a

 public function as to the importance of freedom of speech.

       The criteria outline in Weise when a “private university”

 should be considered a public university is not controlling as


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 Catholic University is governed by a Federal law, the Act of

 April 3, 1928 and is a public university.          Nothing in the Act

 prohibits Mr. Tieso from enforcing his rights.          This Federal law

 was specifically requested by Catholic University.

       No cases cited by Defendant address a Federal law, Act of

 April 3, 1928, for the specific benefit of the Defendant. No

 cases cited by the Defendant address the federal regulation

 75.500 cited specifically to protect freedom of speech at both

 private and public universities.         All of the cases cited by

 Defendant are prior to the issuance of federal regulation 75.500.

 22.   By Catholic University’s contract with Mr Tieso, by Federal

 Statute, by Federal regulation, and by their course of dealing,

 Catholic University has adopted the Constitution right to freedom

 of speech.

 23.     On one hand Catholic University embraces the

 constitutional right to freedom of speech and the corollary that

 it would not retaliate for opinions outside of work in exercise

 of that freedom. Then the University acts against its own

 principals by firing Mr. Tieso without a hearing.

 24.   The Weise Court concludes in its evaluation by stating and

 overriding principal in reviewing the 5 factors, “... but there

 comes a point where those claims [to being a private university]

 are outweighed by the harm wrought on the public interest by

 ‘private’ misdeeds that is, by the offensiveness of the conduct”


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 (Emphasis added).     Even if this Court were to find it is a

 private university Weise has ruled that is not the end of the

 discussion.

 25.    Mr. Tieso’s position is that Catholic University’s

 malevolent conduct outweighs the claim to be a private

 university.    Mr. Tieso, as mentioned in the Weise case is not

 asking the court to regrade papers, nor determine how research

 should be conducted, but to enforce Mr. Teiso’s right to freedom

 of speech under the Constitution.

         By Catholic University’s adoption in their contract with

 Mr. Tieso via the Faculty Handbook, their representation by the

 President of the University, federal regulations, the 1928 Act,

 the Constitution, and their agreement to accreditation standards,

 Catholic University has violated Mr. Tieso’s rights regarding his

 outside the workplace and unrelated to Catholic University

 speech.

 26.   The Defendant cites Dixon v. Coburg Dairy, Inc. 396 F.3d 811

 (4th Cir. 2004) which is a case of an employee who brought

 confederate decals to work, as opposed to Mr Tieso who brought

 none of his opinions to the classroom. In Dixon, the employer

 offered a compromise of removing the decals from his tool box or

 offered to buy a new tool box to which Mr. Dixon declined. These

 facts are in opposite to the present case where Dean Abela asked

 Mr. Tieso to take down a few of the more than 109,000 of Mr.


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 Tieso’s tweets, to which Mr. Tieso agreed.           Coburg Dairy is not

 subject to the 1928 Federal law and the Department of Education

 regulation CFR part 75.500

 27.   Even though defendant makes the statement that “it is

 undisputed that CUA is not a public university” and Mr. Brown in

 his affidavit make the same conclusory statement, there is no

 supporting evidence provided.       Plaintiff has plead and provided

 supporting evidence that Catholic University is a public

 university.

 28.   In Rendell-Baker v. Kohn, 457 U.S. 830 (1982) the Supreme

 Court ruled that mere financial funding was not sufficient, but

 concluded with the following rule in the Rendell-Baker case, that

 the discharge “was not compelled or even influenced by any state

 regulation”.    In the present case, Mr. Tieso was not fired for

 job performance, but because of his deemed violation of the

 constitution right to free speech by Catholic University and the

 interpretation of a Federal right to free speech outside the work

 place by Catholic University.       Catholic University made a

 unilateral ruling on a Constitutional question without a hearing

 while excluding Mr. Tieso’s participation on the issue.            Shela

 Rendell-Baker was fired over an employer’s administrative policy,

 not a constitutional issue.       New Perspective School subject to

 the 1928 Act nor Department of Education regulation CFR part

 75.500.


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 29.    As pled in paragraph 47 of the Complaint, “There is no

 statement in the Faculty Handbook barring Mr. Tieso’s outside

 political internet statements unrelated to the subject matter of

 Mr. Tieso’s courses.”      Contrary to the Rendell Baker case, there

 was no dispute over administrative policy, as Catholic has no

 policy regarding speech outside unrelated to Mr. Tieso’s job with

 his Twitter account making no mention of his employment with

 30.    Plaintiff’s Complaint pled that he had been promoted from

 lecture to assistant professor, had won an award, and students

 had found his teaching good.       See paragraphs 8 and 9 of the

 Complaint and the attached exhibits to the Complaint.

 31.   In Defendant’s Motion to Dismiss, it cites DeBauche v.

 Trani, 191 F3d 499 (4th Cir. 1999) a case regarding a political

 candidate being excluded from a debate and         Mr. Trani, the

 President of VCU, where the debate for the governor’s race was

 being held.    The District Court found that DeBauche failed to

 allege sufficient state action and in addition Mr. Trani was

 entitled to qualified immunity.

       The question in Debauche was when does public and private

 joint activity subjects the private actors to the requirements of

 the Fourteenth Amendment. See Blum, 457 U.S. at 1011; Jackson v.

 Metropolitan Edison Co., 419 U.S. 345, 357-58 (1974); see also

 Lebron v. National R.R. Passenger Corp., 513 U.S. 374, 409 (1995)

          The Plaintiff’s Complaint does not join any non public


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 institution nor any non public parties in its Complaint again

 Catholic University, a public university.

 32.   The Executive Order does indeed states it is not intended to

 and does not create a right or benefit, but what the Executive

 Order does is give a purpose and reasoning to the Department of

 Education regulation which is an enforceable rule.

        On one hand, the Defendant’s argument is that Executive

 orders are not enforceable, but when it comes to Federal

 regulations the executive order is enforceable to determine if

 the underlying regulation is enforceable.

 33.   To the contrary, the federal regulation specifically states

 that the regulation is enforceable.

       The Department will determine that a public institution has
       not complied with the First Amendment only if there is a
       final, non-default judgment by a State or Federal court that
       the public institution or an employee of the public
       institution, acting in his or her official capacity,
       violated the First Amendment.


       Defendant then argues that the regulation is enforceable

 under 75.900, “No act or failure to act by an official, agent, or

 employee of ED can affect the authority of the Secretary to

 enforce regulations.”      The plaintiff is not stating the Secretary

 is not acting. In fact, the regulations clearly states the

 Department of Education is not going to act until and only if

 there is a final, non-default judgment by a State or Federal

 court.


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 34.    75.901 does list other procedures that the Department of

 Education can bring “that are not subject to other procedures”,

 and those other procedures are private parties bringing

 Complaints in federal and state court.

 35.    Further, 75.901 says that the Secretary may use the Office

 of Administrative Law Judges (ALJ), which is not a federal court

 as stated in the regulation as ALJs are considered part of the

 executive branch, to resolve disputes.         The clear reading of the

 regulation is once there is a non-default judgment in a state or

 federal court, the Department of Education can and would proceed

 through ALJ to resolved and settle the dispute with the Catholic

 University.

 36.     Defendant cites Graves v. Depolo (E.D. Va Mar. 9, 2011)

 for the proposition that Plaintiff is not entitled to due process

       Judge Ellis states,

            It is well-settled that to state a claim for violation
       of procedural due process, a plaintiff must allege: (1) a
       cognizable liberty or property interest; (2) deprivation of
       that interest by state action; and (3) that the procedures
       employed were constitutionally inadequate. See Iota Xi
       Chapter of Sigma Chi Fraternity v.Patterson, 566 F.3d 138,
       145 (4th Cir. 2009). Here, plaintiff has not adequately
       alleged that a protected liberty interest was implicated by
       his placement on the central registry. See Paid v. Davis,
       424 U.S. 693, 701 (1976) (holding that reputational injury
       alone is not sufficient to allege deprivation of a liberty
       interest). Accordingly, this claim is dismissed for failure
       to state a claim.


 37.   Addressing the requirements in Graves:

 A.)   Mr. Tieso lost his job and future earning (his property

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 interest), which is quite different from the affect of one

 reputation for being place on a central registry for sexual

 offense.    As pled in the Complaint at paragraph 45 Mr. Tieso’s

 civil liberties of free speech were violated.

 B.) The Complaint alleges the action his termination (paragraph 1

 of the Complaint) was by Catholic University a public university

 (paragraph 34 of the Complaint), and

 C.)   Procedurally,    there was no opportunity for Mr. Tieso to

 participate, no hearing, no documents were provided to Mr. Tieso.

 See the following paragraphs 64 and 65 of the Complaint

 summarizing the constitutionally inadequate procedures.


       The Graves case does not address the Federal Act of April 3,

 1928 nor 34 CFR Part 75.

                           Count II Due Process

 38.   What the Defendant does not address is that Catholic

 University agreed to and adopted due process protections when it

 contracted with Mr. Tieso as pled in paragraph 66 of the

 Complaint.    “Catholic University violated: 1. its own policies

 regarding the due process for termination of a faculty member

 according to the Faculty Handbook”.        At paragraph 63 of the

 Complaint, “The language in the Faculty Handbook at II G-7 193,

 states, ‘The University may, following due process specified

 below....”

 39.   The Faculty Handbook is prepared soley by Catholic

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 University.    Catholic University adopted “Due Process” and

 included it in the Contract with Mr. Tieso via the Faculty

 Handbook.

 40.   Due Process rights in Black’s Law Dictionary is defined as

 “All right which are such fundamental importance as to required

 compliance with due process standards of fairness and justice.

 Procedural and substantive rights of citizens against government

 actions that threaten the denial of life, liberty or property.”

 41.   Catholic University has adopted the Due Process rights, and

 those rights are defined by in the Constitution and case law.

 42.   At Section G Termination of Appointments, part II page 41 of

 the Faculty Handbook, Catholic University could and did not

 exclude adjunct professors from receiving Due Process as outline

 in paragraphs II-G-7 .193.

 43.   Paragraph I-G-7 193 makes no mention of a “regular member”.

 It speaks of “Faculty member” are to be provided Due Process.

 44.   Catholic University and at their Memorandum paragraph 14, 15

 and 16 try to distinguish a “regular member” vs. “non regular

 member”.    The conclusion Defendant argues is that a “non regular

 member” gets no Due Process and that is the basis of Mr. Tieso

 being fired without any Due Process.

 45.   The Defendant relies on II-A-1.001 the definition of

 Membership in the Faculty to support the idea of 2 levels of

 Faculty to make the alleged distinction between alleged “regular”


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 and “non regular” faculty.

 46.    But II A-1.001 makes no distinction.

 “Membership in the Faculty of a School or Department is hold by

 person with appointments to one fo four general recognized

 Faculty ranks, namely Ordinary Professors, Associate Professors,

 Assistant Professors, and Instructors.”          Mr. Tieso is an

 Assistant Professor.

 47.   Further, the Defendant uses 1.004 to try again and argue

 there is a distinction between alleged ‘regular’ and ‘non

 regular’ faculty.

       II A-1.004 says, “Appointment to regular membership in a

 Faculty are of three kinds: appointments with continuous tenure,

 term appointments probationary for tenure and contract

 appointments without tenure.”       Mr. Tieso is a contract

 appointment without tenure and meets the definition of regular

 membership.    Does 1.004 say everyone else is a “non regular

 member”?    No.

 48.   At paragraph 17 of Defendant’s Memorandum it says regular

 Faculty have “the privileges of voting and serving in

 administrative capacity within the Faculty ....are enjoyed only

 by regular members of a Faculty.”         Mr. Tieso was a voting member

 of the faculty and he served as chair of the International

 Business Ethics Case Competition for three years, served on

 numerous committees, and voted numerous times with the Faculty.


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 See Mr. Tieso’s Declaration which is made a part of this

 pleading.

 49.   At II-B6 .046 says, An Adjunct Professor enjoys such

 privileges as the host Department or Faculty may extend, except

 those of voting....” Mr. Tieso was a voting member of the

 Faculty.    See Mr. Tieso’s Declaration attached and made a part of

 the Pleading.     Mr. Tieso in his Declaration contests the

 statements made on material facts in this case in the statements

 made by Mr. Brown and Mr. Abela.

 50.   Contra proferentem, Any ambiguity in the contract/Faculty

 Handbook about whether Mr. Tieso was entitled to Due Process

 regarding his first amendment rights should be interpreted

 against Catholic University.

 51.    Even if the Court finds there is no ambiguity in the terms

 of the Faculty Handbook and finds Mr. Tieso was this undefined

 person “non regular member”, based on the practice of allowing

 Mr. Tieso to vote as a member of a faculty, the voting by Mr.

 Tieso would show that it was not Catholic University’s custom of

 dealing nor course of dealing to make a distinction between

 ‘regular’ and ‘non regular’ professors.

 52.   Where does the words ‘non regular’ appear in the Faculty

 Handbook?     A total creation after-the-fact by the Defendant.

 53.   The Defendant takes the position that private universities,

 citing Heineke v. Santa Clara Univ., 965 F3d 1009 ,are “not


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 ordinarily obligated to comply with the constitutional due

 process requirements.” Doe v. Washington & Lee University, where

 the Court held private universities are not bound by Due Process

 Clause of the Constitution.

 54.   In the Doe v. Washington & Lee, Mr. Doe participated in the

 investigation, the hearing, and the appeal. The Plaintiff has

 pled that Catholic University is a public institution and

 submitted reasonable substantiation.

 55.   Catholic University in their Motion and in their Affidavits

 simply make bland unverified statements of being private, without

 any supporting documentation.

 56.   The Defendant has adopted the Due Process requirements in

 their Faculty Handbook, which is part of Catholic University’s

 contract with Mr. Tieso.        The Faculty Handbook specifies in

 Part II Section G-7-193 the Due Process that will be followed

 through .194 to .211.       61.    Mr. Tieso received no due process.

 In fact at one point he was told there was no investigation. See

 Complaint Paragraph 21.

       On June 11, 2020, Vincent Lacovara, Chief Ethics and
       Compliance Offer and Chief Privacy Officer at Catholic
       University, emailed stating there were no charges against
       Mr. Tieso, even though Mr. Tieso was suspended from his work
       on May 18th, and that the University “is looking at what
       University polices or standards might be vis-a-vis the
       tweets.” See attached Exhibit F made a part of this
       pleading.


 57.   If this Court decides Mr. Tieso, who was employed under


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 contract for a term period, was entitled to no due process under

 the Faculty Handbook, the Court is asked to look to Catholic

 University’s Staff Discipline and Termination Policy. See

 attached Exhibit II, made a part of this pleading.

 58.   The “at will” employees have greater rights to due process

 than what was given to Mr. Tieso. The clerks and grounds keepers

 are afford a warning, written notice to improve, and appeal

 rights.    Mr. Tieso got none of these protections.

 59.   From Exhibit F of the Complaint the email from Mr. Lacovara

 can be read that the University has no policy about tweets

 unrelated to work.     There is no warning to Mr. Tieso of what job

 performance he violated.

 60.   Defendant cites Bd. Of Regents v. Roth, 408 U.S.          564 (1972)

 in which the Court ruled, “University rules gave a nontenured

 teacher "dismissed" before the end of the year some opportunity

 for review of the ‘dismissal,’ but provided that no reason need

 be given for nonretention of a nontenured teacher, and no

 standards were specified for reemployment.”          Mr. Tieso was

 dismissed before the end of his term and was given no opportunity

 for review of his firing.       The Bd. Of Regents case was a case

 about non renewal as opposed to the present case of firing Mr.

 Tieso before the contract ended.

 61.   Even if the Court were to conclude that Mr. Tieso’s case was

 one of non renewal, Catholic University violated its own policy


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 in the Faculty Handbook by failing to give required notice.            This

 breach denied him the ability to look for work at other

 Universities.     See paragraph 92 through 95 below pled in the

 Complaint.

 62.   The Complaint at paragraph 64, states “Catholic University

 breached the due process requirement of the Contract, the

 accreditation body MSCHE, and the industry norms by:

  “a. prejudging Mr. Tieso as a racist by Mr. Lawrence Miller,

 legal counsel for Catholic University, prior to the investigation

 even commencing.”

 63.    Even if the Court finds that Catholic University is a

 ‘private university’ it is still subject to Due Process

 requirements.

 The Court in Prof’l Massage Training Ctr. V. Accreditation

 Alliance of Career Schs & Colls. 781 f3d 161 (4th Cir 2015),

 states, This court made clear that an “impartial decision maker

 is an essential element of due process.”

 64.     Mr. Tieso never received his Due Process rights.

                              Breach of Contract III

 65.   Nowhere in the Motion nor in the affidavits of Mr. Brown and

 Mr. Abela do they deny Catholic University breaching the contract

 with Mr. Tieso.

 66.   On page 22 of Defendant’s Memorandum the issue of 3rd party

 beneficiary is argued.


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        In the Complaint at paragraph 62 it states, “Mr. Tieso is a

 third party intended beneficiary from the Agreement between

 Catholic University and MSCHE, Mr. Tieso was aware of the

 accreditation and protections and relied on the Agreement.”

 Defendant states the rule regarding 3rd party beneficiaries

 requires “contracting parties”.        Plaintiff’s position is the

 language “Agreement between Catholic University and MSCHE” meets

 that definition of contract.

 67.   Black’s Law Dictionary defines the word Contract as “An

 agreement between two or more persons wich creates an obligation

 to do or not to do a particular thing”.         Notice in the Complaint

 the word “Agreement” is capitalized.

 68.      Defendant argues that the rule on 3rd party beneficiary

 requires intention between the parties.         Plaintiff’s position is

 that ““Mr. Tieso is a third party intended beneficiary from the

 Agreement between Catholic University and MSCHE” meets that

 requirement.

 69.   Defendant cites the 4th Circuit case of Prof’l Massage

 Training Ctr. V. Accreditation Alliance of Career Schs & Colls.

 781 f3d 161 (4th Cir 2015).

       The Court in Prof’l Massage Training Ctr. found that

 “Accreditation, among other things,' entitles educational

 institutions to access Title TV federal student aid funding. See

 20 U.S.C. § 1070 et seq.”       The Court continues, “....the cost to


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 an educational institution and its students of denial of

 accreditation can be steep. An institution denied accreditation

 is likely to “promptly [go] out of business — as very few people

 [are] willing [or able] to pay” tuition out of their own pockets.

 Chi. Sch., 44 F.3d at 448.” Catholic University relies on the

 accreditation from MSCHE for federal funding.

 70.    The Defendant cites the Court, “The Standards of

 Accreditation do not constitute a binding contract between the

 agency and the accredited educational institutions because the

 Commission can alter the alleged “contract” at will and, thus, is

 not bound by its terms.” (Emphasis added)

 71.    There is no evidence that the Agreement can be altered by

 the MSCHE, and there is no such language in the Complaint.

 Nowhere in the affidavits of Mr. Brown and Mr. Abela do they deny

 a binding Agreement between MSCHE and Catholic University.

        As announced by the President of the University, Mr. John

 Garvey on July 9, 2020,       “Following a two-year, a campus wide

 effort, The Catholic University of America has successfully

 earned reaccreditation from Middle States Commission on Higher

 Education....”.     See Exhibit JJ, made a part of this pleading.

 72.    Even the President of the University speaks in terms a

 contract in which Catholic met certain requirements and thus

 allowing Catholic to earn the benefit of its designation of being

 a member of the MSCHE.


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        The fact that a particular standard of MSCHE may change in

 the future does not change the fact of this Agreement at the time

 Mr. Tieso was a member of the Faculty.

 73.   The Defendant argues that Catholic University can only

 comment on the changes to any future standards.          The reality is

 this is not the case for two reasons: The standards cannot be

 changed at will, and Catholic University has voting rights on any

 changes.

 74.   There is no evidence and nothing in the affidavits of Mr.

 Brown nor Mr. Abela that the standards have change.

 75.   MSCHE states the Agreement as a contract, “In meeting the

 quality standards of MSCHE accreditation, institutions earn

 accredited status, and this permits them to state with

 confidence: “Our students are well-served; society is

 well-served.” See Exhibit KK made a part of this pleading.

 76.    The consistency from President Garvey’s statement and the

 statement of MSCHE mirroring Mr. Garvey shows there is a meeting

 of the minds as to the contract.

 77.     MSCHE in its Review of Commission Standards, Requirements

 of Affiliation, and Policies it states.         The standards cannot be

 changed on a whim.     Major changes are considered only once every

 10 years.    If during this 10 year period substantive changes are

 needed, the start of the process will being within the year, but

 the change will not be completed until the next year.           Any


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 substantive change will not be made unless notification is given

 to the institutions. See Exhibit LL MSCHE Statement of Policy

 attached and made a part of this Pleading.

 78.   Further, Catholic University is entitled to vote on the

 change to changes to the substantive standards.          So Catholic

 University can do more than just comment. See Exhibit LL

 In accordance with MARCHE (dba MSCHE) Bylaws, “Institutional
 members are entitled to vote on all policies that affect the
 substance of MSCHE accreditation standards and requirements and
 on major substantive policy statements (not including statements
 of good practices or principles),except those mandated under
 Federal law or regulation, the Commission or the Executive
 Committee acting on behalf of the Commission” (Article III, Sec.
 3.03.)


 79.     The Court in Prof’l Massage Training Ctr. made its ruling

 because the ”accreditation body could “alter the alleged

 “contract” at will.” (Emphasis added).         The standards with MSCHE

 and Catholic cannot be altered at will.         See attached Exhibit LL

 made a part of this pleading.

 80.    The Defendant cites Irani V. Palmetto Health, wherein Mr.

 Irani failed to name the correct contract that he was a

 beneficiary of.

           As the district court correctly noted, the amended
       complaint does not encompass a claim as to the Affiliation
       Agreement and the PLAs. The amended complaint alleges a
       claim for "Breach of Contract -- Intended Third Party
       Beneficiary of Accreditation Agreement." J.A. 40.
       Specifically, Appellant alleges, "[a]s a resident,
       [Appellant] was an intended, third-party beneficiary of the
       contract between Defendant [Palmetto]/USC-SOM and the
       ACGME." Id. Appellant does not, however, allege at any point
       in the amended complaint that he is a third party

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       beneficiary ....(Emphasis added)


 Irani v. Palmetto Health, No. 16-2439, 51-52 (4th Cir. Apr. 10,

 2019)

 81.     Catholic University is arguing that it has no contract and

 no requirement to perform and adhere to the representations and

 commitments it made to the MSCHE.         In that case, then Catholic

 University is misrepresenting itself to the MSCHE, the public,

 the federal funding sources, and Mr. Tieso, all of whom are

 reasonably relying on Catholic University’s representation.

 82.   The present case is distinguished from Chicago School of

 Automatic Transmissions, Inc. V. Accrediation Alliance Career

 Schools and Colleges, 44 F 3d 447 (7th Cir. 1994), states,

 “Congress provided for exclusive federal jurisdiction of any suit

 by a school or college protesting the denial or withdrawal of

 accreditation by "an accrediting agency or association approved

 by the Secretary" of Education. 20 U.S.C. § 1099b(f).” (Emphasis

 added).

 83.      The Complaint nor the relationship between the Defendant

 and MSCHE is not about protesting the denial or withdrawal of

 accreditation.

 84.     The present case is also distinguished from Chicago,

 “Accreditation groups adopt and change their rules unilaterally;

 by posting an application fee a trade school cannot lock in a

 favorable set of rules”, in that MSCHE cannot change its rule

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 unilaterally.

 85.   In addition, the Chicago case is distinguish from the

 present case as Catholic University has the right to vote “on all

 policies that affect the substance of MSCHE accreditation

 standards, and requirements and on major substantive policy

 statements....”     In Chicago, the relationship the Court

 considered the relationship between the school and accreditation

 “a proxy for the federal department whose spigot it opens and

 closes.”

       What federal agency allows for the entity it is regulating

 to vote on the very regulations the federal agency is suppose to

 enforce?

 86.   The Court in Chicago mentions only one benefit on the

 accreditation by MSCHE that being to the federal spigot. Catholic

 University derives other benefits by its two year campus wide

 effort in earning the accreditation of MSCHE: improvement to

 student education, identification of gaps in their programs and

 processes, promotes communication across the organization,

 decreases risk and liability costs, and to assure the public.

 87.   The   Defendant argues on page 24 of their Memorandum

 regarding the AAUP, Plaintiff makes a summary claim at paragraph

 66 and that there is no other reference to the standards of due

 process or otherwise regarding AAUP.

       To the contrary, at paragraph 38, the Complaint states,


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       On page 14 of the Faculty Handbook, Statement on Academic
 Freedom - The Catholic University of America, Catholic
 University’s policy is “It is a tradition that posits freedom of
 inquiry, open discussion and unrestricted exchange of ideas as
 essential to the pursuit of knowledge.”
    In 1915 the American Association of University Professors
 (hereafter referred to as ‘AAUP’) identified “three major
 components of academic freedom: research; teaching; and
 extramural utterances....”
      In 1964 the Committee A on Academic Freedom and Tenure
 stated, “The controlling principal is that a faculty member’s
 expression of opinion as a citizen cannot constitute grounds for
 dismissal unless it clearly demonstrates the faculty members
 unfitness to serve. Extramural utterances rarely bear upon the
 faculty member’s fitness for continuing service.”
      In the 1970 Interpretive Comments, the AAUP restated the
 1964 position on extramural utterances, and added that “Moreover,
 a final decision should take into account the faculty member’s
 entire record as a teacher and scholar.”


 88.   Where was the due process in taking Mr. Tieso’s entire

 record as a teacher and scholar by Catholic University?

 89.   Plaintiff would note that the contract between Mr. Tieso and

 Catholic University was performed in Washington D.C. and the

 Plaintiff’s position is the choice of law would be the District

 of Columbia.

 90.   The Defendant argues there is no connection between CUA and

 AAUP whatsover.     The industry standards are relevant in the

 interpretation of the contract between Catholic University and

 Mr. Tieso as to terms and ambiguities of the Faculty Handbook.

 The American Association of University Professors (hereafter

 referred to as ‘AAUP’) is an industry standard and norm that can

 be used.

       In Western Surety Company v. U.S. Engineering Company, 211

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 F. Supp 3d 302 (2016), the Court states, “Under District of

 Columbia law ... if an integrated agreement contains ambiguous

 terms, the court, after admitting parol evidence that may include

 habitual and customary practices, must interpret the contract

 using a reasonable person standard.

       To Decide this question of breach of contract the D.C.

 Superior Court in MEPT St. Matthews, Inc v. Baltimore Masonry

 Inc, 2008-007370 (2014) states, “... turns to the general

 contract ... other related contract documents, and the applicable

 industry codes and standards”

 91.   The argument is made that “Plaintiff cannot bring a claim

 for violation of due process standards by which CUA does not

 abide by.”     Simply because Catholic University has chosen not to

 join the industry trade group does not diminish the standards set

 by the industry.

       Catholic University had every opportunity to draft the

 language in the Faculty Handbook to clearly exclude Mr. Tieso

 from the protections afford under II-G Termination of

 Appointments, and Catholic University did not do so.

       Catholic University breached the contract, denied Mr. Tieso

 due process, and violated his constitution right to freedom of

 speech.

  As stated in Fayetteville Invs.          v. Com Builders Inc. 936 F.2d

 1462 (4th Cir. 1991), The Federal Rules of Civil Procedure only


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 require that a complaint set forth “‘a short statement of the

 claim showing that the pleader is entitled to relief’, in order

 to ‘give the defendant fair notice of what the claim is and the

 grounds upon which it rests’”. Bell Atl. Corp. V. Twombly, 550

 U.S. 544 (2007) quoting Conley v. Gibson 355 U.S. 41 (1957).

 A Motion for Summary Judgement should not be granted if as stated

 in Anderson v. Liberty Lobby, Inc., 477 U.S. 242, “Summary

 judgment will not lie if the dispute about a material fact is

 "genuine,"

       For these reasons the Plaintiff asks that the Defendant’s

 Motions be denied as to the Motion to Dismiss and to the Motion

 for Summary Judgement.

 /s/ Arthur Lander
 ______________
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                       CERTIFICATE OF SERVICE

       I hereby certify that on March 10, 2022 a copy of

 Plaintiff’s Memorandum in Opposition was emailed, and mailed

 first class postage to:

 Michael Marinello, Esq.
 Kagan Stern et al
 238 West Street
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                                    /s/ Arthur Lander
                                    Arthur Lander

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